                                                                          United States District Court
                     UNITED STATES DISTRICT COURT                           Southern District of Texas

                      SOUTHERN DISTRICT OF TEXAS                               ENTERED
                         GALVESTON DIVISION                                    April 28, 2023
                                                                            Nathan Ochsner, Clerk

TERRY PETTEWAY, et al.,                   §
                                          §
      Plaintiffs,                         §
                                          §
VS.                                       §            NO. 3:22-CV-57
                                          §
GALVESTON COUNTY, TEXAS,                  §
et al.,                                   §
                                          §
      Defendants.

                    AMENDED DOCKET-CONTROL ORDER

This case will be controlled by the following schedule:

                                   DEADLINES

1. Passed           DEADLINE TO AMEND THE PLEADINGS. Parties may
                    amend pleadings by this date without leave of court, but only in
                    compliance with Rule 6 of the Galveston Division Rules of
                    Practice. If the plaintiff(s) file(s) an amended complaint by this
                    date, the defendant(s) may file a responsive pleading in
                    accordance with Fed. R. Civ. P. 15(a)(3). After expiration of this
                    deadline, a party seeking to amend a pleading must file a
                    motion for leave demonstrating both good cause and excusable
                    neglect in accordance with Fed. R. Civ. P. 6(b)(1)(B).

2. Passed           DEADLINE TO ADD NEW PARTIES. Unless a case has
                    been removed from state court, new parties may be added by
                    this date without leave of court. After the expiration of this
                    deadline, a party seeking to add a new party must file a motion
                    for leave demonstrating both good cause and excusable neglect
                    in accordance with Fed. R. Civ. P. 6(b)(1)(B). The attorney
                    causing the addition of new parties will provide copies of this
                    order and all orders previously entered in the case to new
                    parties. Note: If a case has been removed from state court, a
                    motion for leave must be filed seeking permission to add new
                    parties.

3. Passed           Identification of plaintiffs’ experts and production of
                    experts’ reports in the form required by Fed. R. Civ. P.
                                         1/2
                 26(a)(2)(B).

4. Passed        Identification of defendants’ experts and production of
                 experts’ reports in the form required by Fed. R. Civ. P.
                 26(a)(2)(B).

5. Passed        COMPLETION OF DISCOVERY. Written discovery
                 requests are not timely if they are filed so close to this deadline
                 that the recipient would not be required under the Federal
                 Rules of Civil Procedure to respond until after the deadline.

6. 5/12/2023     DISPOSITIVE MOTIONS. Responses must be filed by June
                 2, 2023. Replies must be filed by June 16, 2023.

7. 6/16/2023     ALL OTHER PRETRIAL MOTIONS.

8. 6/23/2023     EXCHANGE PRETRIAL MATERIALS. Parties should
                 exchange and begin to confer on motions in limine, exhibit lists,
                 and deposition designations.

9. 7/25/2023     PRETRIAL CONFERENCE is set at 10:00 a.m. All
                 Pretrial Filings (exhibit lists, witness lists, etc.) required under
                 Rule 11 of the Galveston Division Rules of Practice must be filed
                 at least seven days before this date.

10. 8/07/2023    TRIAL.

     Signed on Galveston Island this 28th day of April, 2023.




                                     ______________________________
                                     JEFFREY VINCENT BROWN
                                     UNITED STATES DISTRICT JUDGE




                                      2/2
